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Of Attorneys for Defendant City of Portland

UNITED STATES DISTRICT COURT

DISTRICT OF OREGON
LINDA LORRAINE WICKERHAM, 07-cv-1587 HU
PLAINTIFF,
STIPULATED JUDGMENT OF

ve . DISMISSAL WITH PREJUDICE
CITY OF PORTLAND, PORTLAND |

POLICE BUREAU and MATTHEW
KOHNKE, individually and in his official

capacity,

DEFENDANTS.

Pursuant to Rule 41(a)(16)(A)(ji) of the Federal Rules of Civil Procedure, plaintiff and |
defendants hereby stipulate as follows:

1. For the reason that plaintiff's Complaint has been fully compromised and
released, plaintiff hereby dismisses her Complaint in the above-captioned matter.
Ml |
Ml

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2. All parties hereto agree that the dismissal stipulated herein is with prejudice, and
that no costs or disbursements or attorneys’ fees will be assessed against any party.

IT IS SO STIPULATED:

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f

 

 

MMKRK R. MOLINE” OSB #813193
Of Attorneys for Defendant

City of Portland
Dated: TLE 2008

 

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